
PATTERSON, Judge.
In this juvenile proceeding, the trial court failed to follow the proper procedure pursuant to section 39.052(3)(e)(l), Florida Statutes (1991), for adjudicating the appellant as having committed a delinquent act and committing him to the Department of Health and Rehabilitative Services (HRS). Strict compliance with the provisions of section 39.052(3)(e) is mandatory and failure to comply constitutes reversible error. See R.G.S. v. State, 597 So.2d 816 (Fla. 2d DCA) (interpreting former section 39.-09(3)(e), Florida Statutes (1989)), review denied, 601 So.2d 553 (Fla.1992). Here, neither the written order of commitment nor the transcript of the hearing revealed the specific reasons for the trial court’s decision to adjudicate and commit the appellant to HRS. Therefore, we reverse the appellant’s adjudication and commitment to HRS and remand the case for a new disposition hearing. Based on the resolution of this issue, we do not reach the appellant’s other arguments.
Reversed and remanded.
DANAHY, A.C.J., and LEHAN, J., concur.
